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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
               vs.                              )                8:05CR162
                                                )
GENARO FAVALA RAMIREZ,                          )                 ORDER
                                                )
                      Defendant.                )


         The oral motion of the parties to continue the evidentiary hearing is granted.
         IT IS ORDERED that the hearing regarding the Motion to Dismiss (Filing No. 106)
is continued to April 18, 2006 at 9:00 a.m. before Magistrate Judge Thomas D. Thalken,
Courtroom No. 7, Second Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska.
         Since this is a criminal case, the defendant must be present unless excused by the
Court.


         DATED this 6th day of April, 2006.


                                           BY THE COURT:


                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
